PROB 12(31'88}

ease 2:os-cr-20074-MTEFBM§PI$TM€§/MP3@@ 1 of 2 PagelD 90

for

   

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Petition on Probation and Supervised Release

COMES NOW Lorin J. Smith, PROBATION OFFICER OF THE COURT presenting an official report upon
the conduct and attitude of Derrin Wisernan who was placed on supervision by the Honorable Jon P. MCCM,
United States District Judge, sitting inthe Court at Memphis, Tennessee on the § day of October M who fixed
the period of supervision at two 121 years, and imposed the general terms and conditions theretofore adopted by the
Court and also imposed special conditions and terms as follows:

 

 

l. The defendant shall pay restitution in the amount of $4,71 5.93 ( Balance $4,465.93)

2. The defendant shall participate in a program as approved by the United States Probation Oflice, which may
include inpatient therapy for treatment of narcotic addiction or drug dependency, and which will include
testing to determine if you have reverted tot he use of drugs. You shall also abstain from the use of drugs
during and after the course of treatment""ll

**On February l'l, 2002, Mr. Wiseman’s special conditions was amended to include drug testing/treatment

RESPECTFULLY PRESENT]NG PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
Mr. Wisernan has failed to complete his financial obligation to the court. He has been sporadically employed over
the term of his supervision making it difficult for him to pay the restitution as well as pay living expenses for him and
his daughter.

PRAYING THAT THE COURT WILL ORDER that Mr. Wiseman’s Probation terminate as scheduled on October

5, 2005 with the understanding that the United States Attorney’s Oflice/Financial Litigation Unit will pursue
collection of the restitution

ORDER OF COURT
Consi ered and ordered this § day prectfuny,
of % , 20_.£_, and ordered filed -
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case. ri .,§@ v `
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Place: Memphis, Tennessee
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Date: August 10. 2005

Th\s document entered on the docket sheet in compliance
with Fiule 55 and/or 32(b) FFlCrP on _f_

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:03-CR-20074 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

